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                         IN THE UNTED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                  EL DORADO DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )          CRIMINAL NO.1:19CR10012-001
                                                )
JYRONURUS LEE MCCLAIN                           )


       BRIEF IN SUPPORT OF MOTION BY UNITED STATES TO COMPEL THE
                     PRODUCTION OF VOICE EXEMPLARS

        Comes now the United States of America, by and through David Clay Fowlkes, Acting

United States Attorney for the Western District of Arkansas, and for its Brief in Support of Motion

to Compel the production of Voice Exemplar by the defendant, states:

     The Government intends at trial to offer evidence of recorded conversations between the

defendant and the confidential informant.           While the Government has other circumstantial

evidence which links the defendant to the recorded conversations, a voice exemplar would provide

additional evidence to identify the defendant's voice on the recorded conversations. The identity

of the participant in the recorded conversations is of critical importance in this trial as the defendant

has indicated that he will pursue a defense of entrapment. The conversations organizing and

negotiating the purchase of the methamphetamine are critical to the jury’s analysis of the case

given that defense.

     In United States v. Dionisio, 410 U.S. 1, 93 S.Ct. 764, 35 L.Ed.2d 67 (1973) the Supreme Court

held that compelling a person to provide a voice exemplar for evidentiary purposes is proper and

does not violate the person's rights under the Fifth Amendment. Following Dionisio, the Sixth

Circuit in United States v. Franks, 511 F.2d 25 (6th Cir. 1975) held that the trial court's order

compelling the defendants to provide voice exemplars after arrest and prior to trial was proper and


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does not violate the defendant's constitutional rights. Similarly, in United States v. Lincoln, 494

F.2d 833 (9th Cir. 1974) the court held that compulsion of handwriting exemplar less than one

week prior to scheduled beginning of trial was proper. In United States v. Leone, 823 F.2d 246,

(8th Cir. 1987) the Eighth Circuit held that it was proper for the trial court to require the defendant

at trial to utter the same phrases as those on tape of drug transaction for purposes of voice

comparison by jury. In United States v. Fine, 413 F.Supp. 740 (W.D. Wisc. 1976), the court

granted the government's pretrial motion to compel voice exemplars by the defendant.

   As in the cases cited above, the defendant in this case has no constitutional privilege against

providing voice exemplars. Moreover such a voice exemplar constitutes evidence which is

relevant to the offenses for which the defendant is charged in this case, especially in light of his

defense that he was entrapped into committing the offense. Accordingly the defendant should be

required to provide voice exemplars for use at trial for comparison with the recorded calls.

                                                        Respectfully submitted,

                                                        David Clay Fowlkes
                                                        Acting United States Attorney

                                               By:      /s/ Graham Jones
                                                        Graham Jones
                                                        Assistant U.S. Attorney
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                                 CERTIFICATE OF SERVICE

         I, Graham Jones, Assistant U. S. Attorney for the Western District of Arkansas, hereby
certify that on June 23, 2021, I electronically filed the foregoing with the Clerk of the Court using
the CM/ECF System which will send notification of such filing and that a copy of the foregoing
was also sent to the following:

       Floyd Mattison Thomas, III, attorney for the defendant, Jyronurus Lee McClain

                                                       /s/ Graham Jones
                                                       Assistant U.S. Attorney




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